         Case 1:12-cr-00161-CG-B                      Doc# 184            Filed 07/21/15            Page 1 of 1              PageID# 956
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'DWHRI3UHYLRXV$PHQGHG-XGJPHQW                                              Pro Se
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


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the last judgment issued)RI      100            PRQWKVLVUHGXFHGWR 84 months                            

                                             (Complete Parts I and II of Page 2 when motion is granted)


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                                                                                                              Digitally signed by Callie V.S. Granade U.S. District
                                                                   Callie V.S. Granade                        Judge
                                                                                                              DN: cn=Callie V.S. Granade U.S. District Judge, o=U.S.
                                                                                                              Government, ou=Federal Judiciary,
2UGHU'DWH                   07-21-15                             U.S. District Judge
                                                                                   Judge’s signature
                                                                                                              email=efile_granade@alsd.uscourts.gov, c=US
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(IIHFWLYH'DWH               11-01-15                                                       United States District Judge
                     (if different from order date)                                                Printed name and title
